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                          EXHIBIT K
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From:                             Orloff, Serena M (CIV) <serena.m.schulz-orloff@usdoj.gov>
Sent:                             Thursday, April 30, 2020 7:45 AM
To:                               Damle, Sy (DC); Lee, Dexter (USAFLS)
Cc:                               Stebbins Bina, Jessica (CC); Nightingale Dawson, Elana (DC); Orloff, Serena M (CIV)
Subject:                          RE: Apple v. Corellium - Case No. 19-81160-cv-Smith/Matthewman



Sy,

We have been having technological issues in communications between Florida and DC, but a courtesy copy of
the sealed motion should be coming momentarily.

I apologize that you did not understand that we were moving for relief on Exhibits E and 4. When we spoke, I
thought I made it clear (and it seemed like Elana understood) that we needed your position on 2 issues – the stay
and the exhibits - because we intended to move for relief on them in light of the extremely expedited time
frame. And Elana provided your position on those two issues. In response to your question, we are willing to
engage on reasonable restrictions on our use of the information, but in light of Apple’s unwillingness to agree to
a short stay to accommodate our interests, we don’t have the time to go back and forth on fine print terms and
we are subject to federal records laws that must be considered in the analysis. But the bottom line is that we
want to see those exhibits so we can use them to help assess our interests in the litigation. And we need them
quickly because the Court has not stayed its discovery directives. So while we would otherwise be happy to
engage in a more extended meet and confer process, that seems difficult under the circumstances.

If you’d like to discuss further, please let me know.

Serena
(510) 524-4004


From: Sy.Damle@lw.com <Sy.Damle@lw.com>
Sent: Thursday, April 30, 2020 10:13 AM
To: Orloff, Serena M (CIV) <sorloff@CIV.USDOJ.GOV>; Lee, Dexter (USAFLS) <DLee@usa.doj.gov>
Cc: Jessica.StebbinsBina@lw.com; Elana.NightingaleDawson@lw.com
Subject: RE: Apple v. Corellium - Case No. 19-81160-cv-Smith/Matthewman

Serena and Dexter:

When can we expect a copy of your sealed motion? Also, it is unfortunate that that you did not mention to us yesterday
that you’d also be moving for access to Exhibit E and Exhibit 4, especially because we specifically asked you to let us
know if you were seeking any additional relief beyond the stay. From our perspective, we were still engaged in a good-
faith meet-and-confer about the conditions for the government’s access to these confidential records of our client. As
you requested, we provided you with the specific conditions we had in mind at 4:17pm last night, and you never
responded to the substance of our request. In light of this motion, should we understand the government to have
rejected our proposal for providing access to those exhibits?

Best,
Sy


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Sy Damle
LATHAM & WATKINS LLP
555 Eleventh Street, NW | Suite 1000 | Washington, D.C. 20004-1304
D: +1.202.637.3332 | M: +1.703.622.3977


From: Nightingale Dawson, Elana (DC) <Elana.NightingaleDawson@lw.com>
Sent: Wednesday, April 29, 2020 11:21 PM
To: Orloff, Serena M (CIV) <serena.m.schulz-orloff@usdoj.gov>
Cc: Damle, Sy (DC) <Sy.Damle@lw.com>; Stebbins Bina, Jessica (CC) <Jessica.StebbinsBina@lw.com>
Subject: RE: Apple v. Corellium - Case No. 19-81160-cv-Smith/Matthewman

Serena,

I can confirm that Apple opposes a delay of Mr. Wade’s deposition, which we understand to be the only relief the
Government is seeking. If the Government is seeking some other relief, please let us know.

Thank you.
Elana


Elana Nightingale Dawson | LATHAM & WATKINS LLP
Tel: 202-637-2303 | Fax: 202-637-2201

From: Orloff, Serena M (CIV) <serena.m.schulz-orloff@usdoj.gov>
Sent: Wednesday, April 29, 2020 11:16 PM
To: Nightingale Dawson, Elana (DC) <Elana.NightingaleDawson@lw.com>
Cc: Damle, Sy (DC) <Sy.Damle@lw.com>; Stebbins Bina, Jessica (CC) <Jessica.StebbinsBina@lw.com>; Orloff, Serena M
(CIV) <serena.m.schulz-orloff@usdoj.gov>
Subject: RE: Apple v. Corellium - Case No. 19-81160-cv-Smith/Matthewman

Elana,

Since I am not clear whether Apple’s opposition is a categorical opposition to the extension we’ve requested or
hinges only on the existing summary judgment deadline (in other words, whether Apple would consent to
moving that deadline), and in light of the expedited nature of the relief we are requesting, we will describe your
position as simply an opposition, which will permit Apple to provide any further nuances that may be
appropriate.

Thanks,
Serena


From: Orloff, Serena M (CIV)
Sent: Wednesday, April 29, 2020 9:08 PM
To: Elana.NightingaleDawson@lw.com
Cc: Sy.Damle@lw.com; Jessica.StebbinsBina@lw.com
Subject: RE: Apple v. Corellium - Case No. 19-81160-cv-Smith/Matthewman

Elana,

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Since Apple’s position depends on the summary judgment schedule, does Apple oppose changing that
schedule?

Serena


From: Elana.NightingaleDawson@lw.com <Elana.NightingaleDawson@lw.com>
Sent: Wednesday, April 29, 2020 4:42 PM
To: Orloff, Serena M (CIV) <sorloff@CIV.USDOJ.GOV>
Cc: Sy.Damle@lw.com; Jessica.StebbinsBina@lw.com
Subject: RE: Apple v. Corellium - Case No. 19-81160-cv-Smith/Matthewman

Serena,

I can confirm that, as we discussed, we oppose a stay of Mr. Wade’s deposition in light of the current summary
judgment schedule. Unless and until that schedule is changed, we cannot consider any delay to Mr. Wade’s deposition.

Thank you.
Elana


Elana Nightingale Dawson | LATHAM & WATKINS LLP
Tel: 202-637-2303 | Fax: 202-637-2201

From: Orloff, Serena M (CIV) <serena.m.schulz-orloff@usdoj.gov>
Sent: Wednesday, April 29, 2020 4:39 PM
To: Nightingale Dawson, Elana (DC) <Elana.NightingaleDawson@lw.com>
Cc: Damle, Sy (DC) <Sy.Damle@lw.com>; Stebbins Bina, Jessica (CC) <Jessica.StebbinsBina@lw.com>
Subject: RE: Apple v. Corellium - Case No. 19-81160-cv-Smith/Matthewman

Thanks. What is Apple’s position on staying Mr. Wade’s deposition?


From: Elana.NightingaleDawson@lw.com <Elana.NightingaleDawson@lw.com>
Sent: Wednesday, April 29, 2020 4:17 PM
To: Orloff, Serena M (CIV) <sorloff@CIV.USDOJ.GOV>
Cc: Sy.Damle@lw.com; Jessica.StebbinsBina@lw.com
Subject: Apple v. Corellium - Case No. 19-81160-cv-Smith/Matthewman

Serena,

As we discussed, before Apple provides the Government with Exhibit E to its motion and Exhibit 4 to Corellium’s
response, Apple would need the Government to agree to the following:

   (1) The exhibits will be used only to assess the Government’s interest in the issues raised in the Apple Inc. v.
       Corellium, LLC, 9:19-81160 (S.D. Fla.) litigation.

   (2) The Government will destroy the exhibits upon completion of its participation in the Apple Inc. v. Corellium, LLC,
       9:19-81160 (S.D. Fla.) litigation.

   (3) The Government will not use the exhibits for any other Government action, whether legal or otherwise.
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    (4) The Government will sign on to the Protective Order that governs this case, which is attached here for
        reference.

Apple will also request standard treatment of commercial or confidential information submitted to the government. In
particular, Apple believes the exhibits are entitled to protection as (1) “trade secrets and commercial or
financial information” within the meaning of 5 U.S.C. § 552(b)(4); (2) confidential or trade secret information subject to
the restrictions of 18 U.S.C. § 1905; and (3) “trade secrets and commercial or financial information which is privileged or
confidential” as defined in 21 C.F.R. § 20.61. We accordingly believe that the exhibits will be exempt from production
pursuant to any FOIA request, and we will request that it be exempted from production pursuant to any FOIA request
and not be disclosed to any person, including, without limitation, any federal, state, or local governmental agency or
legislative body. Should the Government receive any request for the exhibits, pursuant to the FOIA, or otherwise, the
Government will notify counsel at Latham & Watkins LLP of such request, and will furnish a copy of all written materials
pertaining to such request. Apple expects that it will be given an opportunity to object to such disclosure. The
Government will treat likewise any memoranda, notes, transcripts, or other writings of any sort whatsoever which are
made by, or at the request of, any employee of any United States government agency which incorporate, include, or
relate to any information learned from the exhibits.

We remain available to discuss if that would be helpful.

Thank you.
Elana




Elana Nightingale Dawson | LATHAM & WATKINS LLP
555 Eleventh St., NW Suite 1000 | Washington, DC 20004
Tel: 202-637-2303 | Fax: 202-637-2201 | http://www.lw.com


_________________________________

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